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                                EXHIBIT 5
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                      EURTON ELECTRIC CO., INC.
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SANTA FE SPlUNGS CA 90670                                                                                !rlU! 5t12..g4fi..(H)'fli'
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            EURTON ELECTRIC CO., INC.                                                                     310-946 477 OUTSIDE CA 800-423-4789
            9920 PAINTER AVE. PO BOX 2113                                                                              FAX 310-946-0014
            SANT A FE SPRINGS CA 90670
                                                                                                                                                        EE001507                       //
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                                                                                                Armature Work.s ,· Inc.

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       . -     �    co., INC.                                                                                                62-94&:4471 -�-'- .:..
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    �EURTON ELECTRIC CO., INC.                                                                                                   5,62-946�1!4 77
    ; 9910 PAINTER-AVE                                                                                                           80()-.423-4789:
    · PO B0Xllt3
    : SANTA � SPRINGS CA 90670                                                                                            FAX .. S.�:2-946·0014·;
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                                               ALL INFORMATION HELD IN TRICT CONFIDENCE.


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                                           FULL NAME OF COMPANY  ADVANCE FIRE PROTECTION co. INC
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                                           ADDRESS
                                                    --------1----        -------------
                                                                14 1 WEST LAMBERT RD

                                           CITY, STATE, ZIP
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                                                                     RA, CA 90631

                                               '.HONE 562 691-9?.'!8                                                   ·        FAX                           562(§91-5482____

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                                                                                                      (9:RPORATi PARTNERSIDP                                               PROPRIETORSHIP
                              REFERENCES                                                                                          oV

    PLEASE LIST VENDORS WITII WlilCH YOU HAVE A                                                        NUMBER OF YEARS IN BUSINF.SS._---""-----
    CURRENT OPEN ACCOUNT.                                                                              NUMBER OF LOCATIONS                                                   1
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    C0MPANYNAM£     GRINNELL CORP.                                                                     PURCHASE ORDER REQUIRED?� NO
    ADDRESS         1600 E. ORANGETHORPE
    crrr.srATS.<m : ;- Jf4�;1¥�9.N!;i!JJA 92631
                                      '"
                                                                                                       PERSON TO CONTACT REGARDING PAYMENT OF BILLS
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                    • 714/773-1166
    PHONE                                                                                                 JOYCE WEIGEL
    FAX             714/879-2319


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    COMP.ANYNAME__.,...CE,...N,..,.T""'RAL=-:-::;-S:-P_R_I_NKL_E_____
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                   BR£A, CA 92621                                                                     • STANDARDTOONLYGIVEOur          •
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       AV           714/993-6043
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                   SANTA                FE SPRING   ==
                                                        S, CA 90670
    CITY,STAn:.ZlP_..,..,..l"!"'T'l""l'r!';-.-;-r>M-----------
                                                                                                      • LARGE CORP. BE SURE TO INCLUDE                                                  :
    PHONE___
                   562/ 698-9421
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    FAX____::s�o ..:::. /8::..4:..:::8:... 6.:a.:os::;.:s::.-...__________
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    ACCOUNT•·------------------                                                                       : PLEASE COMPLETE ALL OF TIIE                                                         •·
                                                                                                      ■ INFORMATION REQUESTED, AS                                                           •
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    COMPANY NAM!!,_________________
    ADDRESS__________________
                                                                                                      • INCOMPLETE APPLICATIONS MAY                                                         •
                                                                                                      • RESULT IN A DELAY IN APPROVING                                                      •
    crrr.srATE.ZlP__ _______________                                                                  • YOUR OPEN ACCOUNT.                                                                  •
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    PHONE___________________
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    FAX_________________                                                                                   THANK.YOU                                                                        •
    ACCOUNT I __________________                                                                                                                                                            •
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    EU}lT(JN ELECT�IC CO., INC.                                                                                          562-946-44TI
    9920 PAINTER A VE                                                                                              OUTSIDE CJFB0ili.lt3-4l89
    PO BOX 2113
    �-' hl'T"A   tn:' �l>DTN�I.:   r\              00�7n
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         EURTON ELECTRIC CO,: !NC.                                                      31 .9 o•4�?7 OUTSiUE CA 800-4:2�•4780
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                         BANKING AND CREDIT INF RMATION
            BANK:                                           KEY BANK OF OREGON
                                                               1222 SW SIXTH AVE.
                                                              PORTLAND, OR 97204
                                                                  (800) 539-2265
                                                           ACCOUNT: 370211100224

                                                       FEDERAL ID#:                        93-0730 38

            CREDIT REFERENCES:

            ARASMITH MANUFACTURING COMPANY
            PO BOX 2458 (BIG TEXAS VALLEY ROAD)
            ROME, GA .--�0116:1_.., -. _
            PHONE:       706-235-8576
            FAX:       · 706-291-1894
                             :-!>:"::' • �
            HOLZ�HER; U - : •.
            5120 WESTINGHOUSE BLVD.
            CHARLOTTE, NC      2B273
            PHONE:      704-587-3400
            FAX:       704-587-3412

            PACIFIC GRINDING WHEEL
            PO BOX 468
            MARYSVILLE, WA 98270
            PHONE:      360-659-6201
            FAX:        360-653-3200

           GEN .-:-"" I\L MANUFACTURING COMPANY, LIMITED
           835 1..:,�m:RRIER STREET
           ORUMMONOVILLE, QUEBEC, CANADA J2B 5A8
           PHONE:           819-472-1161
           FAX:             819-472-3266

           Akhurst Machinery has been listed as an Oregon Corpo lion since 1977. Ws have five
           offices on Canada and two in the United Stales, one in S atlle and ths Portland office.
           We are a distributor and dealer of sawmill, and re-manuf cturing equipment, machinery,
           and parts.

           Accounting contact:                 Trudi Traister

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          EURTON ELECT: :IC CO., f NC.                                                                     3 lO-'),J6-..!-177 OUTSIDE CA 800--i2J-4789
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                               EURTON ELECTRIC CO., INC.                                ' 31 -946-4477 OU :SIDE CA 800-423-4789
                               9920 PAINTER AVE, PO BOX 2113                                                             F/..X JI0-946-0014
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            EURTON ELECTRIC CO., INC.                                                                     310-9 6-4477 OUTSIDE CA 800-423-4789
           9920 PAINTER AVE., PO BOX 2113                                                                               FAX 310-94��601521
           SANfA FE SPRINGS, CA 90670
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      Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 23
                                          of 53

                                                                               BEECH SERVI ES                             PAGE   01/01
     �2/25/2BB5        15:26         3135533993

             Beech Services, L.L.C.                                                             Purchase Order No.: 113380
             2801 S. Beech Daly Rd.
                                                                                                        Vendor ID : E044

0·
             Dearborn Heights, Ml 48125



     x-                                                                                       urchase 0
�""':_:�· ;!::: ::::::::
                   To: EURTON ELECTRIC"
\. ;(\':
     �\'-'             9920 PAINTER AVE
                       Saola Fe Sp,;ng&, CA 90670


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     P.O. Date                       Ship Via                           F.0.8.                                   Terms
          02/25/05            UPS RED 456-481                          Origin                                    Net 30
           Buyer                 Freight           ReQ Data                   Confirming To                  Remarks
          DENISE                 Collect             ASAP
      QTY. ReQ.          Item No.                             011scription                           Unit cost
                   2 Non-stock             REWIND ARMATURES                                               2000.00

                                           1 TO SHIP 2/25/05
                                           1 TO SHIP WEEK OF 2/28/05

                                           PLEASE SHIP DIRECT TO END
                                           USER AT ABOVE ADDRESS
                                           ATTEN: JIM PASSELLI




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    crrr. STA1"£'., ZIP                                                                ■                                                          'JlOi              •
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        EURTON ELECTRJC CO., lNC.                                                                                                62-946-4477
        9no PAINTEll A VE
        PO BOX .21:t.3
                                                                                                                                 00-423•4789
        SANTA FE SPRINGS CA 90670                                                                        FAX                     62-946-0014


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Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 25
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OS/15/2012 10:75 FAX                                                                               �001/008




                                                                    A E
                          PO BOX 1128, BLUE LAKE,  A 95525
                        PHONE 707-668-9770, FAX 70 -668-97



                                 FACSIMILE TRANSMITTAL
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             Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 26
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                                                                                                    EURTON ELECTRIC CO,; NC.
                                                                                               9920 Painter Avenue. P. 0. Bo . 2113
                                                                                                  SANTA FE SPR,INGS, CA 90 70
                                                                                                                        (2p) .946-4477
                                                                                                                  .... •'




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                                      Park:,> CA. 90620
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Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 27
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                                                                               2150 S. Abilene St.
                                                                               Aurora, CO 80014
                                                                                 303-757-5661
                                 d-0110(                                       303-758-S104 F



                     In business since 1926; incorporated in 1946

                     Nature orBusiness: Plwnbing and HVAC service an




                     Federal ID#: 84.()459230                                                        Aurora

                     . Master PhDJ1bing Licaise: 179078                                                         796-9892STI

                     Bonding Company; Old Republic


                                                                             Inc., 9351 Gnni SL, Suite 600,
                                                                         0) 977-6004, Primary Contact: M Cole

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                     Refcrence;i

                     Bank;                      Citywide Banks - Doug Watson, VP Supplier:                    erguson Euterpris�
                                                13731 E. Mississippi Ave.                                     .O.Box5252
                                                Aurora, co 80012                                                nver. CO 80217
                                                Acct.1109 4412 4                                              03-320-4833
                                                Phone: 303-365-4022

                     Supplier.                  LAS Replacement Parts                    Supplier:              pire Gas & Electric
                                                P.0.Box873                                                    .0. Box. 2753
                                                Bronx., NY 10457 ·
                                                800-223-8303

                     Supplier:                  Westbume Supply, Inc.                    Supplier.             .T. Sanders
                                                P.O. Box 4401                                                 0201 W. 49thAvcnue
                                                Denver, CO 80204                                                 cat Ridge. CO 80033
                                                303-534-Sl 11                                                 03-4ZJ-9660




                     Aulhoriz.ed Signature _____________ Date:_�/-----1i---'-�
                                             Koleta Williams




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Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 28
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                                  8en11ett                                                 !Inc.
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                                                                    19) 668-1 60




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                   The following is the 1nfor�
              credit with youx company:


                                            P. O. Box 70804,     Chic go, IL 60673
              Browning:Mfq.,                            564-2022 1\.CC i 0112
                 (606) 564_.'2000 FAX (606)
                                                                                           51
                                                             34 N. Ci ro, Chicago, IL 606
                 Parts & Electri� Motors ,1400-
                 (312) 921-3600
             i. ' .-:; •.• :. •� :_' • '. � <!.. . • �•                     ,··-� "&.� •• �-:..,·.. � ....-:...·,
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                                                                      2 28, Skokie, IL 60076
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                 w. w. Graingex, Inc., Dept. 160, 77Box-                         -80-215-347-8
               ( 216) 398-1880                  FAX l 216) 351-83                     ccT· t 160                                                            .

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               (419) 524-1211
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                Office Managei::
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                                                        ;;•; p
                                     EURTON EL-re'ffllC- CO. INC.
                                   9920 Painter Avenue P. 0. Box 211
                                      SANTA FE SPRINGS, CA 90670
                                             (213) 946-4477



                                   APPLICATION FOR'' tREDIT
                                                             , ..
      Please fill out this form and send it to the· above ad ress.             Attention:   Credit Dept.
      Give only names of those you buy frotnii-On ope(!:           account .
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      I understand the terms are NET. Due and payable on eceipt of statement. Past
      due after the 10th of the month. Interest of 1½% pe· month charged on accounts
      past due 30 days or more.
           #,=;2oq7s
      SIGNED   W (Full
                 R�r.-h:1b. Tnc...
                       name'of Firm)
      Address \3\3       S. Chufch 5-\-.
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Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 31
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                                     CREDIT APPLI
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                  BIG RIVf.R ELECTRIC, INC:
          NAME:         .... --P-�-- 'I\
                                                       . --··.:-T-
                                                                     DATE: ____
                                                                     FAX: U4-446-7384
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          STREET /P.O. BOX.. • • ox
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                GALLIPOLIS
          CITY: -       .. --·-.           . �ST AT6-/:0HIO
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                            ELF.CTKIC H&'-ror1
          TYPE OF BUSINESS: ··-
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          FINANCIAL CONTACT : �-··                                           TITLE:    VICE_;PRES.
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          NAME OF OFFICERS/OWNERS
           ZANE G, COUNiS                                             TIT E: PRESID ENT
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           CERALDlNE A, COUNTS                                        TIT E: VICE-PRE�l.?E_N_T__
           DEBRA BARC�IS
                                                                              ---
                                                                      TIT E: SE C,

          TAlf. EX.EMPT; YES X    NO_ CERTlFIGATE ATTA HED� YES..x._NO____ _

          PURCHASE ORDER REQUIRED: YES                               NO         X


          BANKING:

          STAR BANKING                                                       ADDRESS 25 COURT ST.
                                                                               GALLIPOLIS, 0"· 45631




          2.                ___ ,ADDRESS                   , ..                 PHONE___

          3.                        ADDRESS                                  .. __ PHONE__ _


                                                                  TITLE:


          BIG RIVER ELECTRIC, INC.
          P.O. BOX 244
          GALLIPOLIS, OHIO 45631
          614-446-4360
          614-446-7384-FAX




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                                                                   EURTON ELECTR!C CO., INC.
                                                                 9920 Painter �venu,e_!'l.P, 0. Box 21 3
                                                                  Santa Fe Springs,:0 llfornia 9067 ·
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     Phone             ;t;ls -Jq/� ]1(91                                                         FAX __-+-,--
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     Type of Business:                           pcorporation                           0\artnership                   □ Proprietorship
     Number of year in business -----'-+-----------+-------------­
     Number of locations (if more than one, send complete information on each)                                  -+-----------------
     Presidents Name ___........;:�L....:;;Z.;..;.v'
                                                  --=£.:...._____.:...._.:::.�_, _c;._·   -------+--------------
     Person to contact regarding payment ol bills
                                                                           Name                                                           Title
     Purchase order required?                   Yes____               _ No          Y:
     Authorized Buyer ______.::C...
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     Describe in detail your business, including industries seived _---,,.c.....::;..:::;.......;;=---,...:.A-=             �· L
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     We plan to use Eurton Electric for the following services:
    q_tArmature and Field Coil Rewinding                                                         of Motor Part
    E:fJ- Power Tool Parts                                                                       D Motor Rep ir
     Referenc ,.:i
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     Bank Name
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                 Billing Address:
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                 Blue Ri�ge Electric Motor Repair Inc.
                 PO Box 16557
                 Asheville, NC 28816
                 828/258-0800

                 Shipping Address: �

                 Blue Ridge Electric Motor Re
                 629 Emma Road
                 Asheville, NC 28806

                 Credit References:



                                             ✓
                51 Haywood Ro
                Asheville, NC 2 806
                828/254-08.84
                828/252-427, Fax

                M' & L W. Ider Repair                    Grainger
                PO Box 7698                              834 Riversi e Dr.
                Ashevi e, NC 28816                       Asheville, C 28804-3222
                828/2 0-93 5 3                           828/258-89 6
                828/ 50-9354 Fax

                Int rstate Utility Sales Inc.           BBl
                6 1-B Fairview Road                      1010 Comm rce Drive
                9i rlotte, NC 28210                      Lake Zuric IL 6004 7
                 04/3 67-1970                           800/248-911
                 04/367-1690 Fax                        800/785-728

                Fed Tax ID - XX-XXXXXXX
                NC Tax ID - 600117390 (Resale ID)

                If more info is required please call:
                Rusty Rice
                828/25 8-0800


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Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 34
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                                                       Fax 562-946:•.l'..:0014
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        FULL NAME OF COMPANY____;�;,:,:;.;.;=:.......:.....;;.J...J����a!..+�-+-.i....,�.....:....�L,;.a:.:.,=:..;,.==�               °tti'tf!.�i
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        PAX              O ()          te (t -
        AC€OUNT #        t),2tf -] J_J__._.___.,.._
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        COMPANVN
        ADDRESS __._______,.,��.,..p,'--....::;...,..--+--'---                         11 of the infonnation requested.
        Cl1Y, STATE,                                                                   lications ma.y result in a delay
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        PHONE        '--f!,'d                                        ffl -�pprovi      open account.
        FAX _____________                                            ,.·:,..
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        ACCOUNT#___________                                          tion from the orporate headquarters only. When
        COMPANY NAME            CPMf <ft M (J;L•d                    listing a larg corp., be sure to incJude the ad­
        AonREss        to 0 1<.t_;s.�-�-k \1&�A                      dress of the ain office and your account num­
                                                                     ber.
        CTTY,STATE,zn>    -�@,;: fJ '( /OGOt
                   57:YS°' · CS :,3 - S c:.7J

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        PHONE                                                        Thank you
        FAX         1?�S - S'J3 -                '5'0'7 2,
                                        ,v <.o
                                      j!;�,s,'r"
        Accoumfl.               �l
                                  .                          .       EURTON ELECTRIC CO., INC.
        COMPANY NAME�
                                                                9920Painte Ave. P.O.Box2l13
        ADDRESS    �0_ �                  �      rH.t f>.:/e "2 Santa Fe Sp ings CA 90670
        CITY, STATE,ZJP          S       =ce�1           >JS'    'to 800-423-47 9 562-946-4477
        PHONE          s::i.1 ... Y &::N- .. ot.eob                   Fax 562-94 -0014
        FAX             S'':{l - '-i I -i, - J.( I 'r                J�:o@eurto electric.com
        ACCOUNT#___________                                         ·1ffl'w,eurto electric.com
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                                                 800 Meadows1Road
                                                Boca Raton, FL 33486
                                                   561-395-7100
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         IN BUSINESS SINCE:                       1963

         TYPE OF BUSINESS:                        NOTF
                                                  ORG

         OFFICERS:


         BANK REFERENCE:
                                                    ary Lyn Dost
                                                  800 N MAGNOLIA A E
                                                  7TH FLOOR
                                                  ORLANDO FL 33442
                                                  407-649-5 880

         BUSINESS REFERENC                        BOSTON SCIENT C Customer# 11261
                                                  Contact: Kathleen Ho sab
                                                  508-650-5084 phone
                                                  508-650-8929 fax

                                                  STRYKER Custo
                                                  Contact: Sµsan Rodge s
                                                  201-83 l-5J6 phone
                                                  201-831-4786 fax
                                                  Susan.rodgers@stryke .com
                                                                 I
                                                  OWENS & M NOR               #45-009839-000
                                                  PO Box 860437
                                                  Orlando FL 32886
                                                  l-954-845-2200

              IDA TAX EXEMPTION# 85-8012529354c-6                       CHARITABLE ORGANIZATION
                                 XX-XXXXXXX


                 Jan· Ma!100, Controller
         HONE:     561-955-4230 Finance Office




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        Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 36
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    Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 37
                                        of 53

✓ BOSTON RD EQUIP RENTAL TEL :212-515-5821        :·,'.i:�
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                                                       �! H1,
                                                                    A r 11.97   16:34 No.011 P.03




                                            '            '
                                           l        , ;1:,�
          FIRM NAME:    130STON ROAD EOUIPMENT,RENTALS, INC.
                                            f       ••••• ,


          ADDRESS:      3211 BOSTON ROAD; aaq,i- N.Y.                  0469
                        718-654-8710      . �FAX:W. /
                                                    · ·18-515 5821
                                                   J
          TELEPHONE:
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          DESCRIPTION OF BUSINESSs     REN'tAL,  �ES AND REPAIRS
                                       OF EQUIP���T TOH MEOWNERS,
                                       CONTRACTO�S.
          OWNER/PRESIDENT:      LAWRENCE GRITZ
          INCORPORATED IN THE STATE OF NEW YORK
          RESALE TAX I XX-XXXXXXX      (CERTIFICATE· ATTACiED)

          REFERENCES:   BANK;    CHASE MANHATTAN
                                 748 ALLERTON AVENUE
                                 BRONX, N.Y. 10467
                                 718-935-9935    ACCT #03 -002891665


          TRADE REFERENCES:


             800-334-5730
          ROBERT BOSCH POWER TOO�S                   :;.1 !iJ)i�   ONE HUNDRED ·BOSCH BLVD.
                                                                   NEW BERN, N.C, 28562


          TERRAMITE CORPORATION                                    600 GOFF MOUNTAIN ROAD
             800-428-3772                                          CHA LESTON, W.VA. 25356

          NEW JERSEY FLOOR SUPPLY                                  179 LINCOLN AVENUE
             201-678-7870                                          ORA GE, N.J, 07050




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 JUL-25-1998        15:18           BRAD EQUIP RENTALS                          423 339 0017      P.02




          CCRPCSlATE NAME
          D/B/A : .                                 BRADLEY EXlUI
          BtLLl1G ADIEFSS                       : 1010 S � LEE HWY.
                        , •'•   ·                 CLEVELAND. TN 3 311-5857
          ------ /2EVWND,                     . : 101J)r§. LEE HWY.
                                                              'IN 3 311-5857
          TKLEl?ll:tiE NOMBFlt                      3-339-0075
          FAX NOMBER . .                            �339-0017
          'l'D'E BUSINESS            /          :   CORPORATION
          DATE BOSJNESS �                       : 10-01-92
               .   .
          CXlRFmATK CJEii'ICERS ·
                                /
                                                  PRESIDENT - HAL Y ROE SS Ii XXX-XX-XXXX
                                                  SEX:RET.ARY � AND C. ROE SS tt411-6o-6482
          FEDB1lAL TAX ID NUMBBB.                 XX-XXXXXXX
          'mM'SSEE SALES ux·R>.                   io15i+449z'
          FINAlCtAL �.
                   BANK: FIRST CITIZENS BANK
                            P.O. --BOX 3300
                            CLEVELAND, 'rn 37320-3300
                            423-478-8600 423-479-6276 (FAX
          cmmT �!
          COLLINS�ori. COMPANY7 INC.                      VERMEER          SEE,· INC.
          P.O. BOX 2456                                   1610 HE          BLVD,
          CLE'JELAND, '1N 37320-2456                      LAVERGNE,      37086
          423�472-8770·                                   615-641-20 0
          423-472-0754 (FAX)                              615-641-20 3 (FAX)
          CONTACT� FAYE COI.J...INS                       CON'IACI:      N McCAMPEELL
                                                           CUSTOMER fl 445
          TI:IE BAILEY COMPANY                             THE TERRM TE CORPORATION
          P.O. -BOX 80565                                  P.O. BOX 7 46
          NASHVIlJ..E • TN          3 7208
           615-242-0351                                    CHARLESION WV 25356-7146
           61�244-9395 (FAX)                               304-776-42 l
           CONTACT: PHYLLIS KEITII                         304-776-48 5 (FAX)
           CUSTOMER /}25115                                CONrACT: REEN LANYI
                                                           ACCOUNI 1}2 4700



                                                                             P.LF.ASE cmrACI'   us.

                   1010 South Lee Highway Cleveland, TN 37311                    FAX 423 3®(00(Y1627
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 Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 40
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                                                                       8920 Palnte1:-�--:�--;:\t! ,:;�:. 0. 60)(12113
                                                                        San.ta J:=e.SP,j:jl).Q�i�alitomla 9 870

                                                                                               FAX.(213 ) �46--001-4
                                                                                          ..         �i�J�a;Mn·· ·           :
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 nie iollowing Information m..ist be completed In full. All information wlll be �� in atrk:I C<lnfld1J°nce.
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 Address ---+.wa.�-i�::..c.......:...::::::.-L-----�- -------+--------=----'-----:---:--------���!�
 City, State, Zip ..1:.-.J¥!.���,;.-:..�:.:.__.:._::::.::::::.::::.:::.=::'._______-1�---------,__,., -----:-:-��;�
 Ptione "!-i?.-,="3<-!S:�9",-;.'·7                                               FAX       - {;, 5 2 5 .'
 Type of Business:                                                                                                               . %Proprietorship

-Number of. year In buslnes                  "--=-....;....;_____                   - ·___..._-,____...,_t-"""'"-:----:--:-__,.----:-----:---·''...,:.,..�
                                                                                    ...
                                                                       5,.;:;;. ,'--�-                                                                   � -r"'->:-''J'�!�
                                                                   GllclC(_lm�



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      Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 41
                                          of 53

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                                   A TRAD,,ITION OF SERVICE FQl_l OV
                                       CREDIT· INFORM
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             BRADL;EY:S' ., INC.
             1920 N·. PORT AVE.
            :CORPUS �H:RISTI, TEXAS

                                       CREDIT
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            KEN 'COIL                                                        : ;,;                  800 221-8577
            ·p·:o� ·sox·•·9s·122· -···-                                                             Fax 504/3�-J-9625
             New Orleans, LA 70195                                                   -.'
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                                                                                                    Ken Poche                               J

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                                                         AMERICAN BANK ··""" CC
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                                              _         P.O. Box 6469
                                                corpus ch'risti-,,·.rr.exas 78 13
                                                        st 2; 9 g 2 .:... 9·9·_q:o
                                                         · OFFICERS
                               .     PRESIDENT:                                                     J.L Williams, Sr.
                      VICE PRESIDENT/SECRETARY:                                                     Jim ie L. Williams, Jr.
                                     TREASURER:                                                     Vau han Williams



    (512) 882-4381     ■        FAX: (512) 882-4385        • 1920 _N. PORT AVE . •                                    CORPUS CHRl�f:��401
    Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 42
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                                                                                              5152 Commerce Drive
                                                                                      Baldwin Park. CA 91706-1450
I   N   T E R NATI     O   N   AL                                               (626)960-4981    Fax (626)337-5075

                                              CREDJT REFERENCES
                       DUNS#: 00-632-6805 FED TAX l.D.#: XX-XXXXXXX RESALE#: SRAP 17-7059.13
                                                                                                           ,.
            Geologistics                              John King
            Attn: Kathy Sullivan                      Attn: Dolores
            1261 E. Dyer Rd., Ste. 250                5434 E. Slauso Ave.
            Santa Ana, CA 92705                                      90040-2955
            Phone(714) 513-3069                       Phone(323)7 -1800
            Fax (714)513-3060                         Fax (323) 721-9257

            JDC, Incorporated                         Tietex
            Attn: Linda Kline                         Attn: Credit
            206 East Division Street                  P.O. Box 6
            Mt. Juliet, TN 37122                      Sp                  9304-6218
            Phone (615) 754-9797 ext.116              P                   500
            Fax (615) 758-6200                        F                   486

            A.W. Die                                  Casas lntemati nal
            Attn: Crystal                             Attn: Hector C, sas
            8550 Roland Street                        2380 Martin LL ther King, Suite A
            Buena Park, CA 90621                      Calexico, CA 2231
            Phone (714) 521-0842                      Phone (760) 357 5911
            Fax (714) 521-2709                        Fax (760) 35 -5912

            Flexcon
            Attn: Priscilla
            1 Flexcon Jnclustria )ark
            Spencer, MA 01 2-2642
            Phone (508) 88� -8290
            Fax (508) 5-1426


                                               BANK REFERENCE

            Unio/ Bank of California                  Credit inquiries 1 rnst be on company
            Attn: Commercial Customer Service         letterhead.
            Karen Hall or Susie Kou
            Dept. V03-023
            1980 Saturn St.
            Monterey Park, CA 91755
            Phone (800)298-6466
            Fax (800) 738-2329


            F:\POLICIES\CREDIT\CREDJTRF.DOC
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Qt N
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                                  CONSTRUCTION PRoouCTs & c �ULTANTS, Inc.             ✓-



                                          CONSTRUCTION EQUIP ENT & RENTALS, Inc.
                                                Post Office Box 84433 •    u Falls, South Dakota 57118-4433
J'  !   .,,,   '
                                                     101 East Benson    ad • Sioux Falls, South Dakota 57104
                                                                       /332-499 • Toll Free 1-800-497-3961
                                                                                                 · FAX 605/332-4993
                                                      CRED


                                            Construction Products & Consult 11ts, Jnc.

               Uilling:         P.O. Box 84433                                               JO l East Denson Roa<l
                                Sioux Falls, SD 57118-4433                                                     -----
                                                                                             Sioux Falls, SD 57104


                                                       Phone:        605/332-499
                                                                  605/332-4993 (F X)

                                             Owners:            Robert Lommen-P csidcnt
                                                                Mark Adam-Vice resident


               Bank:            Home Fc<lernl                                       Phone: 605/333-7577
                                225 S. Main Ave.                                    Gary Sieverding
                                Sioux Falls, SD 57102 _


                                                           Credit References:


                          HILT!                                                     Krall Tool
                          P.O. Box 890890                                           619 E. 19th Street
                          Dallas, TX 75389-0890                                     Kansas City, MO 64 !08
                          800/950-6196                                              913/422-4848
                          918/252-3810      (FAX)                                   913/422-7140       (FAX)
                          J\ttn: Janel King

                          Chem Rex                                                  Target
                          CM 9018                                                   43420 Clury 13lvd.
                          St. Paul, MN 55170                                        Kansas City, MO 6413 0
                          612/496-6309                                              ) l3/92R-1000          Ext # 1129
                          612/4 96-6068         (FAX)                                 13/43 8-7938         (FAX)

                                                          SD Sales Tax License:
                                                       51-001-000059113 T-ST-00 I
                                                                FederaJ 10#

                                                                                                            EE001698
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                                                                             . ;- (t .,. -�: 1 tE ;·1
                                                          EURTON ELECTRIC CO., I C.
                                                        9920 Painter Avenue• P. 0. Bo 2113




                                                                                                           oJA,
                                                         Santa Fe Springs, California 9 670
                                                                      (213) 946-44n
                                                                   FAX (213) 946-0014
                                                                                                                    /jl"Cj{)Of:
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                                                          APPLICATION FOR CR                              /J { 1                        vi �
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        T he following information must be completed in full. All information will b eld in strict confider:ice.
                                      Cs
        Full name of company _;::::::::..,;.t:..�!....:::;..:::.��-:.J<..5���_,e,:.,:.:::;..::::;_4---=��-���:::..::�:.,_-----­
        Address --....:�::!..!:.��������¥.--------�----------..:.....--
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        City, State, Zip -�.;;;;.1.:::;.;....::=-�=�  f.--::::;.....;;....:;;..._____        -+----------------
        Phone            J .,. J7�5'- f/J...,/
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                                                                                       FAX_4--.:;.__,i,:��____:;---------
        Type of Business:                   E!Corporation                 □Partnership                  □Proprietorship
        Number of year in business _L..:.......;7�------------+---------------
        Number of locations (if more than one, send complete information on eac )                   ---------------
        Presidents Name      _...:p     �!...1 -.:;.i...:==�=----------+----------------
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        Person •� �ntact rE:!garding payment of bills _
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        Purfc_hase order required? Yes_____ No ✓
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        Aut. horlzed Buyer_·_,:Jf
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... _ �-.P�Jif(ih� -in, detail your business, including industries serv.�9..
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         We plan to use Eurton Electric {or the following services:
                . '      ,,             , .

       )(u\rrnature and Field Coil Rewinding                                       pa_Motor arts
   '    . .
          /.      .·            _ ·

       gPower Tool Parts                                                           0 Motor epair




        City                                State               Zip




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        I (WE) CERTIFY THAT THE ABOVE INFORMATIQ_tµS-T LIE AND CORRECT, AND THAT
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        The following Information must be cd'mplete.d In full. All infonnation will be                                      Id In strict confidence:
        Full name of company ____,;;C�o::.: s-=
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                                          -21,r,j2il,li2,..;a4...._________                                       FAX .......'-'Jo'"......_...........,_.....__________
       Type of Business:                                                    l[]Corporation                 □Partnership         ·□Proprietorship
        Nun,ber of year.ln-busl�ess __..;3;..;;l;.....i.=.;_. -----�-......---1----------__,;..------
       Number of locations (if more than one, send complete info�tion on each) ______ _____ ____
        Presidents Name _,_;;.;;;;
                            Ran.....d
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      Purfchase order.·required? Yes_____ No-::.X.:____
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       Authorized Buyer_-=- -----.,.-----------'-
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. ; ·-We 'plan· to) Lise� Eurlori Electric for the following services:
. , Q,�ature ��ci-F:!,9:l�-Coll Rewinding
    D Power Tool. Parts
. . References:
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       Baill<.'Name
         2Q 5 'N, BroadweJ J
       Bank\ ddress .. ·
         Grana   Island                                                      NE                    68801
       Clly                                                                 State                   Zip


                                Bosch Power-·Tool· Co                                   • , 3701 Neuse Blvd.

                                             Inc               ·pc
                                                                ' j'   Box: 3"186
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       I (WE) CERTIFY THAT THE ABOVE INFORW.TION IS mue AND CORRECT, AND THAT w

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 Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 46
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                                                            EURTON E�CT�IC .C.P.,l C.
                                                          9920 Painter Avenui• P.;(j_ Bo 2113
                                                           Santa Fe Springs, California 9 670
                                                                    (213) 946-4477
                                                                  FAX (213) 946-0014

                                                              APPLICATION FOR CR
The following information must be completed in full. All information will be
Full name of company              Co . "::i. ,Que.,• o\...) , 9 cH...s - ,-_

Address                           \'1'2. \     'SE f,'ElMl?>'E.R ST
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                                                                              □ Partnership                 □Proprietorship
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Type of Business:                           181Corporation
Number of year in business _..:.l..:b:::,____________-1--______,;,__________
Number of locatfons (if more than one, send complete information on eac
Presidents Name             :r6S4:.,t:.        ryl3�R��N
Person to contact regarding payment of bills
                                                                                                                               V.f.
                                                                     Name                                                          Title
Purlchase order required?                Yes        ){               No.___
Authorized Buyer             M \ e �t-..), P�GGo                                                                  5G-�D               oµ jAMES'
Describe in detail your �usiness, Including Industries served _......;=-=�:+-..:.%:_� G t\;..;U
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         \_ uiUf) lt,.j' \ P.Dc';-


We plan to use Eurton Electric for the following services:
lEArmature and Field Coll Rewinding                                                   �Motor arts
QO Power Tool Parts
References:             '
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Bank Address
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City                                        State                    Zip


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             Case No. 1:16-cv-02981-MSK-MDB Document 109-8 filed 11/01/21 USDC Colorado pg 47
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                   ARIZQNACQRP.; ..      1984
                   ESTABLISHED;          1973
                   OFFICERSi             TOM MCCULLOUGH,             ENT
                                         VINCE FERGUSON, V           SIDENT
                                         MICHAEL CRUfC                    ARYrrREASURER
                   RESALEN<t             07-155022Y     ___,,'-4-,,4��0=.     880l4985S
                   FEDERALJD,            XX-XXXXXXX      D                    07-899-0678
                   TRADE REFERENCES;     HITACHI POWER TOOL             ATI'N: BOB DANNER
                                         3950 STEVE REYNOLDS B VD
                                         NORCROSS, GA 30093
                                         TEL: 800-706-7332 =���=:..
                                         RUBBERMAID SPECJALI            s
                                         1147 AKRON RD
                                         WOOSTER, OH 44691
                                         TEL: 216-264-646j .,,_.F�����
                                         ITW RAMSET/REDHEAD            SANDY OR KRlSTEN
                                         P.0.BOX364
                                         MICHIGAN CITY, IN 46360
                                        ,TEL: 800-348-3231
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                                         J3ARBERTON, OH 44203
                                         IEL: 216:8§8--0600 ��......�-......0�2
                                         3M CREDIT DEPT                                  ATTN: GEORGE MURPHY
                                         P.O. BOX 28158
                                         DALLAS, TX 75228
                                         FAX ONLY: Z14--324-8255
                                         MILWAUKEE ELEPRIC OOL CO.
                                         13135 W. LISBON RD                              ATTN: CREDIT DEPT
                                         BROOKFIELD, WI 53005
                                         TEL; 414-781-3600 ...,..,._,·"--'4:...+--,____,.,_,.._.�
                    BANKING REFERENCE; BANK ONE, ARIZONA, NA
                                       2S28 W. SOUIHERN
                                         TEMPE, AZ 85282
                                         TEL: 602-890-6257
                   PAYABLESCQN'.IACJ:    CARRIEPARK




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                     Contractor�
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                               � San            Obispo�
                                  .Ph: 8



         Credit Refercnces


                 iMY busi.uess i.s new as                      round the industrial supply
        busin� for close to 30 years.                           0 supply bwiness selling at}
        Olain.taihing hydraulics, air co                 ,     e washing equipment, air &
        fluid cci,nn.ections.
                 I do business as a so le

                My Tax ID is 554-94
                California Resale f(

                Home Address: auJ Wiss er
                             855 Mjra Dr
                                                                                               i •

                                  San Luis ' bispo, CA 93405



               Wes ide Auto Parts
               5t; rado Rd             l
               San Luis Obispo, CA 934 �
               Ph 805-5 3-5943 FAX 80 -544-5142

               JB De ar
               POB3 59
               San us Obispo, CA 934 tt
               Ph 805-543-0180 Fax 805 S43�8537

               Water Cannon
               4546 S. Semoran Blvd
               Orlando, FL 32822
               Ph 800-333-9274 Fax 888f28-9274

               C-Tech att: Angela. Rags4e Act 4 734i.
               4275 NW Pacific Rim Div.
               Cama5 WA. 98607
               Ph 888-805�9854 Fax 800-· 48-8409
                        ....



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                                                                                                                                 513/388-2409 Fax
                    i:: '--·,_.,i..__:;     VENDOR CREDIT REFERENCE INFORMA ON
       RILL TO: r� ..Ji:1-fM1
       contracto,s�Wl?e1iouso
       P.O. Box 2143 9. .
                    2 95821
       Sacramento. CA
       CA RESALE LIC:         SYARB 157D?."87                                                    RJch Fiechter.             .P. Regionet Manager
       NV RES.ALE LIC:        1 • 140533                                                         916/331-5934                 12J
       OH RESALE UC:                          31-248815                                          Mk:nael J. Fox, Controller
       KY RESALE LIC:
                                              034-892
                                                                                                 9161331-5934                  13a
       IN RESAlE UC;                          005294010                                          Mike Haugen. .P. General Merchan�ise Manager
       FEDERAL 10#                            XX-XXXXXXX                                         916/331-593-4 e 130
       U&B#                                   153021 9880                                        Tom O.lton. Me andl6e Manager
       DIP#                                   97-695-697                                         513/388-240D e 224
      BANI<:
      First Union National Bank
      1�12 W.T. H8rriS5lvd.
      Chartotte, NC. 20288-1148
      910-851-5827                                                                                                                                  •
      ACCOUNT#
                              20799500 29t�DE REFERENCES
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                         SCHULTl, SNYDER. & STEl;LE                                                             CERTA NTED CORP.
                         P.O. BOX 24128                                                                        _Dept. S , 92

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                         SAY CITY METALS                                                                       GEOR IA PACIFIC CORP,
                         301 E. Alonota Blvd.                                                                  360 In men Dr. South
                         Gardena, CA. 9024&                                                                    EngJew od, co. 80112
                         Fax: 310/5115-7423                                                                    Fax:    /U0-7259
                                                                                                                        a
                         Attn: John Kneen
                         LEADCO LIGHTING
                         &070 HIiicrest Dr.
                      va1a.y v..w. OH. 44125
                     Fax: 2181673-10$3
                     Att11: Fred Gieger
                                                                                          08:36 AM                                                      VENREF.WK4
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                                                                                9920 Painter Avenue P. 0. Box 21 3
                                                                                   SANTA FE SPRINGS, CA 90670
                                                                                          (213)946-4477


       C) {-.v:  · "/ D� I%�
                                                                  -"

                                                                                           APPLICATION FOR CREDIT

                 Pleas� fill out �his form and send it to the above ddress.                                                                       Attention:   Credit Dept.
                 Give only names of thos� you buy from on open accou t.


  �t
   tG,J.f
                                          Name__K=i�r�k�w�o�o�d___I=n�c�-----------

                            oojttlddress 4855 West 1 30 street
  � lva:t.:., J/7.                                             Cleveland                         Ohio                                       Zip 44135
                                                                            267-6200




                                                                                                                                            Zip 35201
                                          Phone (20s) 252-6300
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   0                                                                                                                                        Zip 19468
'J3 f Phone (
                �,,,_,,,,,,                                           )1-800-223-3853
            t' [f w_'Y
 � 11                            I
  '                                       Name
  0 �                                     Addr-es_s______________
                                                                                                                                            Zip-----
                                          Phone (                      ) -------


                 I understand the terms are NET. Due and payable on receipt of statement. Past
                 due after the 10th of the month. Interest of 1½% pr month charged on accounts
                 past due 30 days or more.
                                     �.353 �S'"'
                 SIGNED_.....c....h..,.a...,p....,....
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                 Address 3131 S, Haskell                                                                                        Phone 21 4 )-=--�----'--'�'---------
                                                                                                                                             824-8095

                                      Dallas, TX                            75223



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                                ATTANOOGA ARMATURE
     CREDTT REFERENCES: CH

      BALDOR ELECTRIC
      P.O. BOX 2400
      FORT SJ\lllTH, AR
      72908
      PH. 479-649-5113
      FAX 479-648-5937
      ATTN:· JUDITH RAEF
                          RVICE
      SOUTHERN W1ND1NG SE
      5302 ST.PAUL ST.
      TAMPA, FL 33619
      800-272--7797
      FAX 813-6l3-6184
      ATN:LJNDA

      TECO WESTlNGHOUSE
      P.O. BOX 203073
      HOUST_ON, TX 77116-3073
      FAX 512-216-7435
      ATTN: TIM ATCffESON

       U.S. ELECTRIC
       P.O. BOX 905287
       CHARLOTTE, NC 28290-5287
       PH. 314-553-3986
       FAX 314-553-1236
                                   ON
       ATTN: VF�RL!NZJAJ:J.:-NDERS

       BANJ<: UNTO • P ,Ar-lTtRS
              835 GEORGIA AVE.
               CHATTANOOGA, TN 37402
               PHONE 42.3-634-2103
               FAX 423-634-21 l l
                CHRIS VARNELL




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                    BERKLEY
     t)         3009 Coolidge Hwy.
,{rj �           Berkley, Ml 48072
'\                (248) 543-011 8
 -�'-&.         FAX (248) 58<1-7070




     @CHESTERFl�LD "fWP.                               ROCH ESTE�lrLS
                  53381 Grallot                            M�flco
          Chesterfield 1\vp., Ml 4801                    2_9.-16 Crooks Rd.
                 (810) 749-6030                       oc'hesrer Hills, Ml 48309                Burton, Ml 48509
             FAX (810) 749·3988                           (248) 853-6020                        (810) 742-2650
                                                       FAX (248).853-7620                     FAX {810) 743-0038



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           Keeley Enterprlses. Inc
           DBA: Davison Rd Rental
                Chet's Rel'tt AJI

           Keeley Enterprises. inc
           Fed# XX-XXXXXXX
           OBA - Chet's Rent All Davison Road Re1tal
           2616 Crook� Road
           Roche:itcr Hills. Ml 48309
                                                                                                ·'
          Pre�ident:            K�vin Keeley
          Control1er            Kyle J. Keeley       Main Office - (248) 853-6020
          Accounts Plilyable:   Ron ComiMky          Fax -          (24B) 853-7620

          TRADE REFERENCES:

          Di1ch Witch Se!es.        (517)-546-9848
          3-401 W Grand River Ave.
          Hov-rell. Ml 48843
          By Fex On!y: (1517)-549,9890 Att9nUon; Yvonne

          Pace Inc,                   (734)...453-6258
          739 5 Mlle Streat
          Plymouth, Ml 48170
          .e_y_fJx O□l'r': (734):453-,320 AttentlqQ: Michello
          Pro-Cut Products Irie.     (600)-527-1403
          P.O. Box 0550
          Plthlburgti, PA 15264-0550
          Bv Fox Only; (8001:443-1092 Attoolion: DeroQ.t_.B...IQY{t!
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         NflliOMI City l3anl<
         Ed Keetini;i                 (517}-B94-8808
         300 Center Ave
         Bey City, Ml 48 708




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